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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-39-PB

Gillian Barrett



                                 ORDER

     The defendant, through counsel, has moved to continue the

trial scheduled for September 3, 2008, citing the need for

additional time to engage in further plea negotiations or prepare

for trial.   The government does not object to a continuance of

the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from September 3, 2008 to November 4, 2008.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The court will hold a final pretrial conference on October

23, 2008 at 4:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

September 2, 2008

cc:   Stanley Norkunas, Esq.
      Debra Walsh, AUSA
      United States Probation
      United States Marshal




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